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                        UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

 Case No. 2:20-CV-02291-DOC-KESx                                  Date: February 29, 2024

 Title: LA ALLIANCE FOR HUMAN RIGHTS ET AL V. CITY OF LOS ANGELES


 PRESENT:

                   THE HONORABLE DAVID O. CARTER, JUDGE

               Karlen Dubon                                   Not Present
              Courtroom Clerk                                Court Reporter

       ATTORNEYS PRESENT FOR                        ATTORNEYS PRESENT FOR
             PLAINTIFF:                                  DEFENDANT:
            None Present                                  None Present


       PROCEEDINGS (IN CHAMBERS): SCHEDULING NOTICE


       The Court previously set the hearing for Plaintiffs’ Motions for (Dkt. 663) for
 March 7, 2024 at 9 a.m. The assigned courtroom is Courtroom 1 at the United States
 Courthouse located at 350 W 1st St, Los Angeles, CA 90012. At the hearing, the parties
 may present witness testimony, other evidence, and argument.

        Counsel for proposed intervenor, Stephen Yagman, elected officials, and other
 interested parties are invited to attend the hearing.

       The Clerk shall serve this minute order on the parties.

  MINUTES FORM 11                                                Initials of Deputy Clerk: kdu

  CIVIL-GEN
